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 4
     Attorney for Defendant
 5
     DAVID JOPSON
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-275-JAM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       AND SENTENCING
                                                    )
12
     DAVID JOPSON and                               )       Date: July 28, 2015
                                                    )       Time: 9:15 a.m.
13   THOMAS JOPSON,                                 )       Judge: John A. Mendez
                                                    )
14
            Defendants.                             )
                                                    )
15
                                                    )
16

17

18          The parties hereby stipulate the following:
19              Judgment and sentencing in this matter is presently set for July 7, 2015. Counsel for
20              the parties request the date for judgment and sentencing be continued to
21              July 28, 2015 at 9:15 a.m. Counsel for the defendants need additional time to meet
22              with their clients, review the PSR; discuss the findings and recommendations therein;
23              and, research and draft formal objections and sentencing memoranda as necessary.
24              Assistant U.S. Attorney Todd Pickles and USPO Lisa Hage have been advised of this
25              request and have no objection. The parties request the Court adopt the following
26              schedule pertaining to the presentence report:
27
                Judgment and Sentencing date:                                       7/28/15
28
                Reply, or Statement of Non-Opposition:                              7/21/15

                                                        1
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 1
               Motion for Correction of the Presentence Report
 2             Shall be filed with the Court and served on the
               Probation Officer and opposing counsel no later than:         7/14/15
 3
               The Presentence Report shall be filed with the Court
 4
               And disclosed to counsel no later than:                       n/a
 5
               Counsel’s written objections to the Presentence Report
 6             Shall be delivered to the probation officer and opposing
 7
               Counsel no later than:                                        n/a

 8             The Presentence Report shall be filed
               And disclosed to counsel no later than:                       n/a
 9

10      IT IS SO STIPULATED.
11
     Dated: June 24, 2015                                       /s/ John R. Manning
12                                                             JOHN R. MANNING
                                                               Attorney for Defendant
13
                                                               David Jopson
14
     Dated: June 24, 2015                                      /s/ William J. Portanova
15                                                             WILLIAM J. PORTANOVA
                                                               Attorney for Defendant
16
                                                               Thomas Jopson
17

18
     Dated: June 25, 2015                                      Benjamin B. Wagner
19
                                                               United States Attorney
20
                                                         by:   /s/ Todd A. Pickles
21                                                             TODD A. PICKLES
                                                               Assistant U.S. Attorney
22

23
                                                ORDER
24

25         IT IS SO FOUND AND ORDERED this 25th day of June, 2015.

26
                                                         /s/ John A. Mendez____________
27
                                                         HON. JOHN A. MENDEZ
28                                                       U.S. DISTRICT COURT JUDGE



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